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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this is an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Jessica
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Marie
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Camp
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names
     and doing business as         Jessica Desprez
     names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4582
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Jessica Marie Camp                                                                        Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 5341 Grey Stag Court
                                 Suwanee, GA 30024
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Gwinnett
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                       petition, I have lived in this district longer than            have lived in this district longer than in any other
                                       in any other district.                                         district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Jessica Marie Camp                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Jessica Marie Camp                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    debtor or a debtor as          U.S.C. § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small                  I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11           No.
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code,
                                               and I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Jessica Marie Camp                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after                through the internet, even after I reasonably tried to
                                               I reasonably tried to do so.                                 do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Jessica Marie Camp                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Jessica Marie Camp
                                 Jessica Marie Camp                                               Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     February 8, 2023                                 Executed on
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




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Debtor 1   Jessica Marie Camp                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Michael F. Burrow                                              Date         February 8, 2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Michael F. Burrow 317998
                                Printed name

                                Burrow & Associates, LLC
                                Firm name

                                2280 Satellite Blvd.
                                Bldg. A, Suite 100
                                Duluth, GA 30097
                                Number, Street, City, State & ZIP Code

                                Contact phone     678-942-8640                               Email address         bankruptcy@legalatlanta.com
                                317998 GA
                                Bar number & State




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Fill in this information to identify your case:

Debtor 1                 Jessica Marie Camp
                         First Name                  Middle Name                   Last Name

Debtor 2
(Spouse if, filing)      First Name                  Middle Name                   Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                           Check if this is an
                                                                                                                                     amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                       04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

             Married
             Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

             No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                         Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                         lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

             No
             Yes. Fill in the details.

                                              Debtor 1                                                       Debtor 2
                                              Sources of income               Gross income                   Sources of income           Gross income
                                              Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                              exclusions)                                                and exclusions)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Debtor 1      Jessica Marie Camp                                                                        Case number (if known)



5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income             Gross income
                                                Describe below.                 each source                    Describe below.               (before deductions
                                                                                (before deductions and                                       and exclusions)
                                                                                exclusions)
From January 1 of current year until Snap Benefits                                              $281.00
the date you filed for bankruptcy:

For last calendar year:                         Snap Benefits                                   $112.00
(January 1 to December 31, 2022 )

For the calendar year before that:              Unemployment                                  $3,348.00
(January 1 to December 31, 2021 )


Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                an attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                 paid            still owe

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
     including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
     support and alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                           Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                 paid            still owe




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Debtor 1      Jessica Marie Camp                                                                       Case number (if known)



8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                paid            still owe       Include creditor's name

Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                          Status of the case
      Case number
      American Express National Bank                      Garnishment                  Magistrate Court of                         Pending
      vs.                                                                              Gwinnett County                             On appeal
      Jessica Camp                                                                     Gwinnett Justice & Admin
                                                                                                                                   Concluded
      21-M-31376                                                                       Center
                                                                                       75 Langley Dr
                                                                                       Lawrenceville, GA 30046

      Midland Credit Management, Inc.                     Civil                        Magistrate Court of                         Pending
      vs.                                                                              Gwinnett County                             On appeal
      Jessica Camp                                                                     Gwinnett Justice & Admin
                                                                                                                                   Concluded
      21-M-34506                                                                       Center
                                                                                       75 Langley Dr
                                                                                       Lawrenceville, GA 30046

      Goldman Sachs Bank USA                              Garnishment                  State Court of Gwinnett                     Pending
      vs.                                                                              County                                      On appeal
      Jessica Desprez                                                                  75 Langley Dr.
                                                                                                                                   Concluded
      22-GC-03618                                                                      Lawrenceville, GA 30046


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                           Describe the Property                                          Date                        Value of the
                                                                                                                                                        property
                                                          Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                           Describe the action the creditor took                          Date action was                 Amount
                                                                                                                         taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes




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Debtor 1      Jessica Marie Camp                                                                          Case number (if known)



Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                  Describe the gifts                                        Dates you gave                  Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total              Describe what you contributed                             Dates you                       Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List                   loss                              lost
                                                         pending insurance claims on line 33 of Schedule A/B:
                                                         Property.

Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                         Description and value of any property                     Date payment               Amount of
      Address                                                     transferred                                               or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Burrow & Associates, LLC                                    $338.00 Chapter 7 Filing Fee                              1/24/2023                    $386.00
      2280 Satellite Blvd.                                        $20.00 Credit Counseling Fee
      Bldg. A, Suite 100                                          $28.00 Credit Report
      Duluth, GA 30097


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                         Description and value of any property                     Date payment               Amount of
      Address                                                     transferred                                               or transfer was             payment
                                                                                                                            made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                                Description and value of                    Describe any property or     Date transfer was
      Address                                                     property transferred                        payments received or debts   made
                                                                                                              paid in exchange
      Person's relationship to you
      Non-Interested Party                                        2000 Suburban                               $4,000 cash                  05/2022
                                                                  $4,000.00

      None


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                               Description and value of the property transferred                        Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of              Type of account or         Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number                instrument                 closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                               Who else had access to it?              Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City,                                             have it?
                                                                  State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                    Who else has or had access              Describe the contents              Do you still
      Address (Number, Street, City, State and ZIP Code)          to it?                                                                     have it?
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                Where is the property?                  Describe the property                         Value
      Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                  Code)


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Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                              Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)        Address (Number, Street, City, State and      know it
                                                                ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                Court or agency                            Nature of the case                   Status of the
      Case Number                                               Name                                                                            case
                                                                Address (Number, Street, City,
                                                                State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.

           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                  Employer Identification number
      Address                                                                                                   Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                Dates business existed
      Beacon Counseling                                    Counseling                                           EIN:       x-4582
      327 Dahlonega St
      Cumming, GA 30040                                    Tommy Martin                                         From-To    2012-2020




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       Business Name                                         Describe the nature of the business               Employer Identification number
       Address                                                                                                 Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                               Dates business existed
       Reflections Recovery Center                           Counseling                                        EIN:         x-4582
       327 Dahlonega Street
       Suite 902B                                                                                              From-To      2018-2020
       Cumming, GA 30040


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Jessica Marie Camp
Jessica Marie Camp                                                    Signature of Debtor 2
Signature of Debtor 1

Date      February 8, 2023                                            Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case and this filing:

Debtor 1                    Jessica Marie Camp
                            First Name                             Middle Name                     Last Name

Debtor 2
(Spouse, if filing)         First Name                             Middle Name                     Last Name

United States Bankruptcy Court for the:                     NORTHERN DISTRICT OF GEORGIA

Case number                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                        What is the property? Check all that apply
       5341 Grey Stag Court                                                       Single-family home                          Do not deduct secured claims or exemptions. Put the
       Street address, if available, or other description                                                                     amount of any secured claims on Schedule D:
                                                                                  Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative

                                                                                  Manufactured or mobile home
                                                                                                                              Current value of the       Current value of the
       Suwanee                           GA        30024-0000                     Land                                        entire property?           portion you own?
       City                              State          ZIP Code                  Investment property                                $230,000.00                 $230,000.00
                                                                                  Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                                  Other                                       (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one     a life estate), if known.
                                                                                  Debtor 1 only                               Fee Simple
       Gwinnett                                                                   Debtor 2 only
       County                                                                     Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                                  At least one of the debtors and another          (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                    $230,000.00


Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes




Official Form 106A/B                                                             Schedule A/B: Property                                                                    page 1
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4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     No
     Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                $0.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                                  Household Goods and Furnishings                                                                                            $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                                  Electronics                                                                                                                $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                  Used Clothing                                                                                                               $50.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....



Official Form 106A/B                                                 Schedule A/B: Property                                                                     page 2
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13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                         Cat                                                                                                                        $25.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $1,075.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                           17.1.       Pre-Paid Card                         Chime                                                                   $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                          Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
      No
      Yes. Give specific information about them...................
                                Name of entity:                                                                              % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                               Institution name:




Official Form 106A/B                                                                  Schedule A/B: Property                                                          page 3
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22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


Official Form 106A/B                                                 Schedule A/B: Property                                                              page 4
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33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $0.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
          If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.



Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

Part 8:        List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ......................................................................................................................           $230,000.00
56. Part 2: Total vehicles, line 5                                                                              $0.00
57. Part 3: Total personal and household items, line 15                                                     $1,075.00
58. Part 4: Total financial assets, line 36                                                                     $0.00
59. Part 5: Total business-related property, line 45                                                            $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                   $0.00
61. Part 7: Total other property not listed, line 54                                          +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                     $1,075.00             Copy personal property total            $1,075.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $231,075.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                        page 5
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Fill in this information to identify your case:

Debtor 1               Jessica Marie Camp
                       First Name                      Middle Name                 Last Name

Debtor 2
(Spouse if, filing)    First Name                      Middle Name                 Last Name

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                portion you own
                                                          Copy the value from    Check only one box for each exemption.
                                                          Schedule A/B

     Household Goods and Furnishings                                 $500.00                                  $500.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 6.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Electronics                                                     $500.00                                  $500.00     O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 7.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Used Clothing                                                    $50.00                                    $50.00    O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 11.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit

     Cat                                                              $25.00                                    $25.00    O.C.G.A. § 44-13-100(a)(4)
     Line from Schedule A/B: 13.1
                                                                                      100% of fair market value, up to
                                                                                      any applicable statutory limit




Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                                    page 1 of 2
           Case 23-51327-bem                 Doc 1      Filed 02/08/23 Entered 02/08/23 17:10:41                         Desc Main
                                                       Document      Page 21 of 77
Debtor 1    Jessica Marie Camp                                                              Case number (if known)

3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                            Schedule C: The Property You Claim as Exempt                                       page 2 of 2
             Case 23-51327-bem                       Doc 1         Filed 02/08/23 Entered 02/08/23 17:10:41                                         Desc Main
                                                                  Document      Page 22 of 77
Fill in this information to identify your case:

Debtor 1                   Jessica Marie Camp
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name

United States Bankruptcy Court for the:             NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                          Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                              Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                              value of collateral.   claim                   If any
        Deer Valley Communtiy
2.1                                              Describe the property that secures the claim:                        $867.00             $230,000.00              $867.00
        Association
        Creditor's Name                          5341 Grey Stag Court Suwanee, GA
        cBeth Barrett                            30024
        1465 Northside Drive
                                                 As of the date you file, the claim is: Check all that
        Suite 128                                apply.
        Atlanta, GA 30318                            Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)
    Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another         Judgment lien from a lawsuit
    Check if this claim relates to a                Other (including a right to offset)
    community debt

Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 2
          Case 23-51327-bem                           Doc 1         Filed 02/08/23 Entered 02/08/23 17:10:41                                   Desc Main
                                                                   Document      Page 23 of 77
Debtor 1 Jessica Marie Camp                                                                                Case number (if known)
            First Name                  Middle Name                       Last Name


      Gwinnett County Tax
2.2                                              Describe the property that secures the claim:                      $3,538.00          $230,000.00            $3,538.00
      Commissioner
      Creditor's Name                            5341 Grey Stag Court Suwanee, GA
                                                 30024
                                                 As of the date you file, the claim is: Check all that
      75 Langley Drive                           apply.
      Lawrenceville, GA 30046                         Contingent
      Number, Street, City, State & Zip Code          Unliquidated
                                                      Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
   Debtor 1 only                                      An agreement you made (such as mortgage or secured
   Debtor 2 only                                       car loan)
   Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another            Judgment lien from a lawsuit
   Check if this claim relates to a                   Other (including a right to offset)
   community debt

Date debt was incurred                                    Last 4 digits of account number


2.3   PHH Mortgage                               Describe the property that secures the claim:                   $242,066.00           $230,000.00          $12,066.00
      Creditor's Name                            5341 Grey Stag Court Suwanee, GA
                                                 30024
      Attn: Bankruptcy
                                                 As of the date you file, the claim is: Check all that
      Po Box 5452                                apply.
      Mount Laurel,, NJ 08054                         Contingent
      Number, Street, City, State & Zip Code          Unliquidated
                                                      Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
   Debtor 1 only                                      An agreement you made (such as mortgage or secured
   Debtor 2 only                                       car loan)
   Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another            Judgment lien from a lawsuit
   Check if this claim relates to a                   Other (including a right to offset)
   community debt

Date debt was incurred        11/18                       Last 4 digits of account number         0413


  Add the dollar value of your entries in Column A on this page. Write that number here:                                 $246,471.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                $246,471.00

Part 2: List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 2 of 2
              Case 23-51327-bem                        Doc 1        Filed 02/08/23 Entered 02/08/23 17:10:41                                            Desc Main
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Fill in this information to identify your case:

Debtor 1                     Jessica Marie Camp
                             First Name                     Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                     Middle Name                       Last Name

United States Bankruptcy Court for the:                NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                              Check if this is an
                                                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
      1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim           Priority            Nonpriority
                                                                                                                                             amount              amount
2.1          Georgia Department of Revenue                        Last 4 digits of account number                                    $0.00              $0.00                  $0.00
             Priority Creditor's Name
             Compliance Division                                  When was the debt incurred?
             ARCS Bankruptcy
             1800 Century Blvd. NE, Suite 9100
             Atlanta, GA 30345-3202
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                              Contingent
             Debtor 1 only                                            Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations

             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated
             No                                                       Other. Specify
             Yes                                                                        Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 22
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Debtor 1 Jessica Marie Camp                                                                             Case number (if known)

2.2        Internal Revenue Service                              Last 4 digits of account number                                  $0.00                $0.00                 $0.00
           Priority Creditor's Name
           P.O. Box 7346                                         When was the debt incurred?
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                            Contingent
           Debtor 1 only                                            Unliquidated
           Debtor 2 only                                            Disputed
           Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:

           At least one of the debtors and another                  Domestic support obligations

           Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                              Claims for death or personal injury while you were intoxicated
           No                                                       Other. Specify
           Yes                                                                         Notice Only


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
      claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
      creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                          Total claim

4.1        Amex                                                     Last 4 digits of account number        3603                                                     $13,248.00
           Nonpriority Creditor's Name
           Correspondence/Bankruptcy                                                                       Opened 11/18 Last Active
           Po Box 981540                                            When was the debt incurred?            6/17/20
           El Paso, TX 79998
           Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify    Credit Card




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 2 of 22
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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.2       Anchor Hospital                                        Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          5454 Yorktowne Dr                                      When was the debt incurred?
          Atlanta, GA 30349
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify


4.3       Associated Pathologists, LLC                           Last 4 digits of account number                                                            $359.00
          Nonpriority Creditor's Name
          c/o Pathgroup                                          When was the debt incurred?
          PO Box 740858
          Cincinnati, OH 45274
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.4       Atlanta Heart Specialists                              Last 4 digits of account number       3683                                                 $931.00
          Nonpriority Creditor's Name
          1468 Montreal Road                                     When was the debt incurred?           11/18/2022
          Tucker, GA 30084-6902
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 22
           Case 23-51327-bem                      Doc 1         Filed 02/08/23 Entered 02/08/23 17:10:41                                            Desc Main
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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.5       Atrium Health                                          Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          PO Box 32861                                           When was the debt incurred?
          Charlotte, NC 28232
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.6       Bank of America                                        Last 4 digits of account number       1445                                               $19,390.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 07/07 Last Active
          4909 Savarese Circle                                   When was the debt incurred?           03/20
          Tampa, FL 33634
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.7       BBVA                                                   Last 4 digits of account number       6340                                               $15,539.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 01/16 Last Active
          5 South 20th St                                        When was the debt incurred?           03/20
          Birmingham, AL 35233
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 22
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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.8       Capio Partners, LLC                                    Last 4 digits of account number       5719                                                 $119.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                       When was the debt incurred?           Opened 08/22
          Po Box 3498
          Sherman, TX 75091
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collection Attorney Radiology Partners


4.9       Capital One                                            Last 4 digits of account number       9916                                                 $335.00
          Nonpriority Creditor's Name
          Attn: Bnakruptcy                                                                             Opened 10/18 Last Active
          P.O. Box 30285                                         When was the debt incurred?           04/20
          Salt Lake City, UT 84130
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card


4.10      Carter-Young                                           Last 4 digits of account number       9619                                                 $595.00
          Nonpriority Creditor's Name
          Attention: Bankruptcy                                                                        Opened 02/22 Last Active
          120 2nd St, 2nd Floor                                  When was the debt incurred?           09/20
          Monroe, GA 30655
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                     Collection Attorney North Chattahoochee
             Yes                                                    Other. Specify   Family Phy




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 5 of 22
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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

          Central Emergency Medical
4.11      Services                                               Last 4 digits of account number       1689                                                $2,847.00
          Nonpriority Creditor's Name
          PO Box 660637                                          When was the debt incurred?           07/25/2020
          Dallas, TX 75266
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.12      Charlotte Radiology                                    Last 4 digits of account number       7667                                                     $54.00
          Nonpriority Creditor's Name
          P.O. Box 600109                                        When was the debt incurred?           05/04/2020
          Raleigh, NC 27675-6109
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.13      Citibank                                               Last 4 digits of account number       6927                                                $5,798.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 09/17 Last Active
          P.O. Box 790034                                        When was the debt incurred?           1/05/20
          St Louis, MO 63179
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 6 of 22
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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.14      Comcast                                                Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          P. O. Box 530098                                       When was the debt incurred?
          Atlanta, GA 30353-0098
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Cable


4.15      Concentra Urgent Care                                  Last 4 digits of account number       6830                                                 $128.00
          Nonpriority Creditor's Name
          P.O. Box 9011                                          When was the debt incurred?           08/11/2020
          Broomfield, CO 80021-9011
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.16      Credence Resource Mgmt. LLC                            Last 4 digits of account number       2680                                                $2,866.00
          Nonpriority Creditor's Name
          PO Box 2390                                            When was the debt incurred?
          Southgate, MI 48195-4390
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collections




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4.17      Credit Collection Services                             Last 4 digits of account number       8791                                                 $199.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 07/21 Last Active
          725 Canton St                                          When was the debt incurred?           04/21
          Norwood, MA 02062
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collection Attorney Progressive


4.18      Digitech Computer, LLC.                                Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          480 N Bedford Rd                                       When was the debt incurred?
          Chappaqua, NY 10514
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

                                                                                     Collections Gwinnett County Fire &
             Yes                                                    Other. Specify   Emergency

4.19      Discover Financial                                     Last 4 digits of account number       7666                                                $1,330.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 09/17 Last Active
          Po Box 3025                                            When was the debt incurred?           6/19/20
          New Albany, OH 43054
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Credit Card




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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.20      EdFinancial Services                                   Last 4 digits of account number       6199                                               $10,067.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 08/06 Last Active
          Po Box 36008                                           When was the debt incurred?           12/14/22
          Knoxville, TN 37930
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.21      EdFinancial Services                                   Last 4 digits of account number       6299                                                $9,406.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 08/07 Last Active
          Po Box 36008                                           When was the debt incurred?           12/14/22
          Knoxville, TN 37930
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.22      EdFinancial Services                                   Last 4 digits of account number       6399                                                $7,374.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 06/07 Last Active
          Po Box 36008                                           When was the debt incurred?           12/14/22
          Knoxville, TN 37930
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational




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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.23      EdFinancial Services                                   Last 4 digits of account number       6499                                                $6,928.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 08/07 Last Active
          Po Box 36008                                           When was the debt incurred?           12/14/22
          Knoxville, TN 37930
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only                                          Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify
                                                                                     Educational
4.24      Envision Physicians Services                           Last 4 digits of account number       6150                                                 $700.00
          Nonpriority Creditor's Name
          Po Box 80200                                           When was the debt incurred?           11/29/2021
          Philadelphia, PA 19101
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.25      Georgia Behavioral Health                              Last 4 digits of account number       2699                                                 $100.00
          Nonpriority Creditor's Name
          P.O. Box 1870                                          When was the debt incurred?           03/03/2020
          Cary, NC 27512-1870
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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4.26      Goldman Sachs Bank USA                                 Last 4 digits of account number       95S6                                               $29,703.00
          Nonpriority Creditor's Name
          c/o Zwicker & Associates, P.C.                         When was the debt incurred?           2/9/2022
          3505 Koger Blvd., Suite 125
          Duluth, GA 30098
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Judgment


          Infectious Disease Services of
4.27      Georgia                                                Last 4 digits of account number       4451                                                  $250.00
          Nonpriority Creditor's Name
          11660 Alpharetta Hwy.                                  When was the debt incurred?           08/5/2021
          Suite 430
          Roswell, GA 30076
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.28      LA Property Group, LLC.                                Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          Attn: Michael Mizra                                    When was the debt incurred?
          703 Henley Fields Cir
          Duluth, GA 30097
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Deficiency for Lease




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4.29      Lakeview Behaviorial Health                            Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          1 Technology Parkway South                             When was the debt incurred?
          Norcross, GA 30092
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.30      LifeStance Health                                      Last 4 digits of account number       2699                                                 $100.00
          Nonpriority Creditor's Name
          P.O. Box 1870                                          When was the debt incurred?           11/11/2022
          Cary, NC 27512-1870
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.31      LSC Capital LLC.                                       Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          1030 Cambridge Square Ste. C                           When was the debt incurred?
          Alpharetta, GA 30009
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Deficiency for Lease




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4.32      Marcus by Goldman Sachs                                Last 4 digits of account number       2057                                               $29,702.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 09/18 Last Active
          Po Box 45400                                           When was the debt incurred?           06/20
          Salt Lake City, UT 84145
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Unsecured


          Midland Funding/Midland Credit
4.33      Mgmt                                                   Last 4 digits of account number       4159                                                $1,666.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                             Opened 11/20 Last Active
          Po Box 939069                                          When was the debt incurred?           03/20
          San Diego, CA 92193
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Factoring Company Account Citibank N.A.


4.34      N. Atlanta Prof Services                               Last 4 digits of account number       2N19                                                  $241.00
          Nonpriority Creditor's Name
          P.O. Box 650292                                        When was the debt incurred?           04/14/2020
          Dallas, TX 75265-0292
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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          North Atlanta Heart & Vascular
4.35      Center                                                 Last 4 digits of account number       5440                                                 $134.00
          Nonpriority Creditor's Name
          P.O. Box 809                                           When was the debt incurred?           10/31/2022
          Marietta, GA 30090
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


          North Chattahoochee Family
4.36      Physcians                                              Last 4 digits of account number                                                            $595.00
          Nonpriority Creditor's Name
          11459 Johns Creek Parkway                              When was the debt incurred?           05/18/2021
          Suite 250
          Duluth, GA 30097
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.37      Northeast Georgia Health System                        Last 4 digits of account number       7320                                                 $132.00
          Nonpriority Creditor's Name
          PO Box 129                                             When was the debt incurred?           05/03/2020
          Oakwood, GA 30566
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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4.38      Northside Hospital                                     Last 4 digits of account number       7772                                                $9,816.00
          Nonpriority Creditor's Name
          P. O. Box 1100062                                      When was the debt incurred?           11/21/2022
          Atlanta, GA 30348-0062
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.39      Northside Radiology Associates                         Last 4 digits of account number       1855                                                 $120.00
          Nonpriority Creditor's Name
          PO Box 932215                                          When was the debt incurred?           07/10/2020
          Atlanta, GA 31193
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.40      Paragon Revenue Corp                                   Last 4 digits of account number       2535                                                $3,618.00
          Nonpriority Creditor's Name
          216 Le Phillip Ct.                                     When was the debt incurred?           03/26/2020
          Concord, NC 28025
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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4.41      Peachford Hospital                                     Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          2151 Peachford Road                                    When was the debt incurred?
          Atlanta, GA 30338
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.42      Penn Credit                                            Last 4 digits of account number       0871                                                $2,749.00
          Nonpriority Creditor's Name
          PO Box 69703                                           When was the debt incurred?
          Harrisburg, PA 17106
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collections


4.43      PNC Bank                                               Last 4 digits of account number       0084                                                $5,959.00
          Nonpriority Creditor's Name
          PO Box 5570                                            When was the debt incurred?
          Cleveland, OH 44101
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Personal Loan




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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.44      Quest Diagnostic                                       Last 4 digits of account number       2024                                                     $41.00
          Nonpriority Creditor's Name
          P.O Box 7306                                           When was the debt incurred?           05/06/2020
          Hollister, MO 65673-7306
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.45      Sequium Asset Solutions, LLC                           Last 4 digits of account number       8641                                                 $196.00
          Nonpriority Creditor's Name
          1130 Northchase Parkway                                When was the debt incurred?           04/21/21
          Suite 150
          Marietta, GA 30067
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collection for ATT


4.46      Spectrum                                               Last 4 digits of account number       2246                                                 $258.00
          Nonpriority Creditor's Name
          PO box 94186                                           When was the debt incurred?           05/2/2020
          Palatine, IL 60094-4188
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Cable




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 17 of 22
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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.47      Summit Ridge Hospital                                  Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          250 Scenic Hwy. South                                  When was the debt incurred?
          Lawrenceville, GA 30046
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.48      The 1818 Club                                          Last 4 digits of account number       2909                                                 $125.00
          Nonpriority Creditor's Name
          6500 Sugarloaf Parkway                                 When was the debt incurred?           04/2020
          Suite 300
          Duluth, GA 30097
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Collections


          The Law Offices of Mitchell D.
4.49      Bluhm                                                  Last 4 digits of account number       5719                                                 $165.00
          Nonpriority Creditor's Name
          1313 N. Travis Street                                  When was the debt incurred?           08/16/2022
          Suite 103
          Sherman, TX 75092
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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Debtor 1 Jessica Marie Camp                                                                          Case number (if known)

4.50      Tmobile                                                Last 4 digits of account number       0555                                                 $161.00
          Nonpriority Creditor's Name
          P.O. Box 629025                                        When was the debt incurred?
          El Dorado Hills, CA 95762
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Cell phone


4.51      US Acute Care Solutions                                Last 4 digits of account number       8432                                                $1,248.00
          Nonpriority Creditor's Name
          4535 Dressler Road NW                                  When was the debt incurred?           05/9/2020
          Canton, OH 44718-2545
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical


4.52      View Pointe Behavioral                                 Last 4 digits of account number                                                           Unknown
          Nonpriority Creditor's Name
          175 Gwinnett Drive, Ste. 260                           When was the debt incurred?
          Lawrenceville, GA 30046
          Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                    Contingent
             Debtor 1 only
                                                                    Unliquidated
             Debtor 2 only
                                                                    Disputed
             Debtor 1 and Debtor 2 only                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                Student loans
             Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                        report as priority claims

             No                                                     Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                    Other. Specify   Medical




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Debtor 1 Jessica Marie Camp                                                                           Case number (if known)

4.53      World Omni Financial Corp.                              Last 4 digits of account number        0647                                                 $13,676.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                               Opened 3/28/18 Last Active
          Po Box 991817                                           When was the debt incurred?            3/12/21
          Mobile, AL 36691
          Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                     Contingent
             Debtor 1 only
                                                                     Unliquidated
             Debtor 2 only
                                                                     Disputed
             Debtor 1 and Debtor 2 only                           Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                 Student loans
             Check if this claim is for a community debt             Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                         report as priority claims

             No                                                      Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                     Other. Specify    Automobile

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Aldridge Pite Haan                                          Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 52815                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 30355
                                                            Last 4 digits of account number

Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Alltran Financial                                           Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 722901                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Houston, TX 77272
                                                            Last 4 digits of account number

Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Alltran Financial                                           Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 722901                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Houston, TX 77272
                                                            Last 4 digits of account number

Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Angela L. Hamilton                                          Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
1200 Hwy 74 S.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Suite 6-172
Peachtree City, GA 30269
                                                            Last 4 digits of account number

Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Ascendium Education Solutions,                              Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Inc.                                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
cNavient Post Claim
P.O. Box 9460
Wilkes Barre, PA 18773
                                                            Last 4 digits of account number

Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Atrium Health                                               Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 2090                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Morrisville, NC 27560
                                                            Last 4 digits of account number

Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
Bay Area Credit Services                                    Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 5914                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
Troy, MI 48007-5914


Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 20 of 22
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Debtor 1 Jessica Marie Camp                                                       Case number (if known)

                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Business Revenue Systems              Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 579                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
Burlington, IA 52601
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Citi Cards                            Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 6403                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Sioux Falls, SD 57117-6077
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Credence Resource Mgmt. LLC           Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 2390                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Southgate, MI 48195-4390
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Goldman Sachs Mortgage Company        Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P. O. Box 45400                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Salt Lake City, UT 84145-0400
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Gwinnett County Fire & Emerg.         Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P. O. Box 935335                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Atlanta, GA 31193-5335
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
IC System                             Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 64886                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Saint Paul, MN 55164
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
InDebted USA, Inc.                    Line 4.53 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 1201                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Farmington, MO 63640-4128
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Medical Revenue Servivce              Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 1940                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Melbourne, FL 32902-1940
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
NatGen Premier                        Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 3199                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Winston Salem, NC 27102-3199
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
National Enterprise Systems           Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
2479 Edison Blvd.                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
Unit A.
Attica, OH 44807-2340
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?
Patient Accounts Bureau               Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
P.O. Box 279                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
Norcross, GA 30091
                                      Last 4 digits of account number

Name and Address                      On which entry in Part 1 or Part 2 did you list the original creditor?



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Debtor 1 Jessica Marie Camp                                                                             Case number (if known)

Radius Global Solutions                                       Line 4.45 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
PO Box 357                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
Ramsey, NJ 07446
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Receivable Performance Mgmt                                   Line 4.50 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO Box 1548                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
Lynnwood, WA 98046-1548
                                                              Last 4 digits of account number

Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Strategic Resource Group                                      Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
112 W. Pike Drive                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Suite 200
Mount Laurel, NJ 08054
                                                              Last 4 digits of account number


Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                 6a.       $                            0.00
Total claims
from Part 1             6b.   Taxes and certain other debts you owe the government                         6b.       $                            0.00
                        6c.   Claims for death or personal injury while you were intoxicated               6c.       $                            0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $                            0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                     6e.       $                            0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                6f.       $                    33,775.00
Total claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                            6g.       $                        0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts            6h.       $                        0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.         $                  165,193.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                  6j.       $                  198,968.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 22 of 22
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Fill in this information to identify your case:

Debtor 1                  Jessica Marie Camp
                          First Name                         Middle Name              Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name              Last Name

United States Bankruptcy Court for the:               NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


       Person or company with whom you have the contract or lease                       State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                   Jessica Marie Camp
                           First Name                           Middle Name        Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name        Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
     fill out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




   3.2                                                                                               Schedule D, line
               Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
               Number             Street
               City                                     State                       ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Jessica Marie Camp

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                            Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                          13 income as of the following date:

Official Form 106I                                                                                        MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                  Employed
       attach a separate page with           Employment status
                                                                      Not employed                              Not employed
       information about additional
       employers.
                                             Occupation            Shift Supervisor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Hoover Foods

       Occupation may include student        Employer's address
                                                                   4030 Johns Creek Parkway
       or homemaker, if it applies.
                                                                   Duluth, GA 30097

                                             How long employed there?         2 weeks

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        1,882.00      $               N/A

3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      1,882.00            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                page 1
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Debtor 1   Jessica Marie Camp                                                                    Case number (if known)



                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $         1,882.00      $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $           156.00   $                  N/A
     5b.    Mandatory contributions for retirement plans                                  5b.     $             0.00   $                  N/A
     5c.    Voluntary contributions for retirement plans                                  5c.     $             0.00   $                  N/A
     5d.    Required repayments of retirement fund loans                                  5d.     $             0.00   $                  N/A
     5e.    Insurance                                                                     5e.     $             0.00   $                  N/A
     5f.    Domestic support obligations                                                  5f.     $             0.00   $                  N/A
     5g.    Union dues                                                                    5g.     $             0.00   $                  N/A
     5h.    Other deductions. Specify:                                                    5h.+    $             0.00 + $                  N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            156.00      $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,726.00      $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $              0.00     $               N/A
     8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
     8e. Social Security                                                                  8e.     $              0.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify: Snap                                                                 8f.  $              281.00   $                  N/A
     8g. Pension or retirement income                                                     8g. $                 0.00   $                  N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                  N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            281.00      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $           2,007.00 + $             N/A = $          2,007.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.   $         2,007.00
                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Jessica Marie Camp                                                                 Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,508.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                             0.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                            46.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     Jessica Marie Camp                                                                         Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    150.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                     70.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                     50.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   250.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                     0.00
10.   Personal care products and services                                                   10. $                                                      0.00
11.   Medical and dental expenses                                                           11. $                                                      0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                       0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                       0.00
14.   Charitable contributions and religious donations                                      14. $                                                       0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                       0.00
      15b. Health insurance                                                                15b. $                                                       0.00
      15c. Vehicle insurance                                                               15c. $                                                       0.00
      15d. Other insurance. Specify:                                                       15d. $                                                       0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       2,074.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       2,074.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               2,007.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              2,074.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  -67.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                          United States Bankruptcy Court
                                                                Northern District of Georgia
In re      Jessica Marie Camp                                                                                   Case No.
                                                                               Debtor(s)                        Chapter    7


                                              BUSINESS INCOME AND EXPENSES
        FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
         1. Gross Income For 12 Months Prior to Filing:                                                     $                  0.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
         2. Gross Monthly Income                                                                                                  $               0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
         3. Net Employee Payroll (Other Than Debtor)                                                        $                  0.00
         4. Payroll Taxes                                                                                                      0.00
         5. Unemployment Taxes                                                                                                 0.00
         6. Worker's Compensation                                                                                              0.00
         7. Other Taxes                                                                                                        0.00
         8. Inventory Purchases (Including raw materials)                                                                      0.00
         9. Purchase of Feed/Fertilizer/Seed/Spray                                                                             0.00
         10. Rent (Other than debtor's principal residence)                                                                    0.00
         11. Utilities                                                                                                         0.00
         12. Office Expenses and Supplies                                                                                      0.00
         13. Repairs and Maintenance                                                                                           0.00
         14. Vehicle Expenses                                                                                                  0.00
         15. Travel and Entertainment                                                                                          0.00
         16. Equipment Rental and Leases                                                                                       0.00
         17. Legal/Accounting/Other Professional Fees                                                                          0.00
         18. Insurance                                                                                                         0.00
         19. Employee Benefits (e.g., pension, medical, etc.)                                                                  0.00
         20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                 DESCRIPTION                                                                     TOTAL

         21. Other (Specify):

                 DESCRIPTION                                                                     TOTAL

         22. Total Monthly Expenses (Add items 3-21)                                                                              $               0.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
         23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                            $               0.00
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Fill in this information to identify your case:

Debtor 1                 Jessica Marie Camp
                         First Name               Middle Name              Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name              Last Name

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                  Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Jessica Marie Camp                                            X
             Jessica Marie Camp                                                Signature of Debtor 2
             Signature of Debtor 1

             Date     February 8, 2023                                         Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
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Fill in this information to identify your case:

Debtor 1                  Jessica Marie Camp
                          First Name                           Middle Name                         Last Name

Debtor 2
(Spouse if, filing)       First Name                           Middle Name                         Last Name

United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             230,000.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $               1,075.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             231,075.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             246,471.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             198,968.00


                                                                                                                                 Your total liabilities $                  445,439.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $               2,007.00

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $               2,074.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
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Debtor 1    Jessica Marie Camp                                                         Case number (if known)
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                      307.45


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

     9d. Student loans. (Copy line 6f.)                                                                 $            33,775.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                 0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


     9g. Total. Add lines 9a through 9f.                                                           $             33,775.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                 Northern District of Georgia
 In re       Jessica Marie Camp                                                                                                                    Case No.
                                                                                                          Debtor(s)                                Chapter    7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                                                      $                  1,700.00
              Prior to the filing of this statement I have received                                                                            $                     0.00
              Balance Due                                                                                                                      $                  1,700.00

2.     Additional amounts due:

            Court Filing Fee ...............................................................................................................   $                     0.00

            Credit Counseling Fee ......................................................................................................       $                     0.00

            Credit Report Fee .............................................................................................................    $                     0.00

            Total Balance Due on Fees ............................................................................................             $              1,700.00

3.     The source of the compensation paid to me was:
                    Debtor                     Other (specify):

4.     The source of compensation to be paid to me is:
                    Debtor                     Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Exemption Planning
               Stopping creditor actions against Client
               Negotiations with secured creditors to reduce to market value
               Preparation and filing of Reaffirmation Agreements and Applications
               Change of Address Filings

                    Representation at the meeting of creditors and confirmation hearings may be by an attorney on staff with Burrow
                    & Associates, LLC or an attorney with whom Burrow & Associates, LLC has contracted to provide services.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Filing any Judicial Lien Avoidances
               Filing any Lien Avoidances on Household Goods
               Filing any Motions to Redeem Property
               Representation of the Debtor in any Adversary Proceedings
               Representation of the Debtor in any Dischargeability Actions
               Representation of the Debtor in any Motion Hearings
               Representation of the Debtor at any Rule 2004 Examination
               Representation of the Debtor in any Fraudlent Transfer Actions
               Representation of the Debtor in any Trustee's Motion to Dismiss Actions
               Representation of the Debtor in any Complaint to Avoid Transfer of Property
               Representation of the Debtor in any Stay Relief Actions


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 In re       Jessica Camp                                                                                 Case No.
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
8.       Client desires to file a petition under Chapter 7 of the Bankruptcy Code. Client is unable to pay the Attorney fee in full prior to filing the case.
         Client acknowledges that there is a split of authority nationwide regarding the propriety of accepting post-petition payments for Chapter 7
         attorney fees. Client further acknowledges that the Northern District of Georgia is in the minority of the Courts that does allow these
         post-petition payments.
         Client has agreed to allow the attorney fees to be paid in installments commencing on the date set forth in the agreement between Client and
         Burrow & Associates, LLC. Client agrees that the fees shall be deducted from Client's bank account at a frequency and amount specified in
         the agreement between Client and Burrow & Associates, LLC until paid in full.
         Client agrees that if garnished funds are recovered by Burrow & Associates, LLC on behalf of Client, those funds shall be first applied to the
         balance owed on Attorney fees and the remainder will be paid to the Client. Client agrees to cooperate in the processing of any check
         regarding the recovered funds.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 10, 2023                                                          /s/ Michael F. Burrow
     Date                                                                       Michael F. Burrow 317998
                                                                                Signature of Attorney
                                                                                Burrow & Associates, LLC
                                                                                2280 Satellite Blvd.
                                                                                Bldg. A, Suite 100
                                                                                Duluth, GA 30097
                                                                                678-942-8640 Fax: 678-745-0412
                                                                                bankruptcy@legalatlanta.com
                                                                                Name of law firm




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Fill in this information to identify your case:

Debtor 1                 Jessica Marie Camp
                         First Name               Middle Name               Last Name

Debtor 2
(Spouse if, filing)      First Name               Middle Name               Last Name

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number
(if known)                                                                                                              Check if this is an
                                                                                                                        amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                           12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral What do you intend to do with the property that    Did you claim the property
                                                              secures a debt?                                    as exempt on Schedule C?



   Creditor's         Deer Valley Communtiy                        Surrender the property.                             No
   name:              Association                                  Retain the property and redeem it.
                                                                                                                       Yes
                                                                   Retain the property and enter into a
   Description of       5341 Grey Stag Court Suwanee,              Reaffirmation Agreement.
   property             GA 30024                                   Retain the property and [explain]:
   securing debt:



   Creditor's         Gwinnett County Tax                          Surrender the property.                             No
   name:              Commissioner                                 Retain the property and redeem it.
                                                                                                                       Yes
                                                                   Retain the property and enter into a
   Description of       5341 Grey Stag Court Suwanee,              Reaffirmation Agreement.
   property             GA 30024                                   Retain the property and [explain]:
   securing debt:



   Creditor's         PHH Mortgage                                 Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes


Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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Debtor 1      Jessica Marie Camp                                                           Case number (if known)


    Description of   5341 Grey Stag Court Suwanee,               Reaffirmation Agreement.
    property         GA 30024                                    Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Jessica Marie Camp                                             X
      Jessica Marie Camp                                                     Signature of Debtor 2
      Signature of Debtor 1

      Date       February 8, 2023                                        Date




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
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                        Aldridge Pite Haan
                        PO Box 52815
                        Atlanta, GA 30355



                        Alltran Financial
                        PO Box 722901
                        Houston, TX 77272



                        Amex
                        Correspondence/Bankruptcy
                        Po Box 981540
                        El Paso, TX 79998



                        Anchor Hospital
                        5454 Yorktowne Dr
                        Atlanta, GA 30349



                        Angela L. Hamilton
                        1200 Hwy 74 S.
                        Suite 6-172
                        Peachtree City, GA 30269



                        Ascendium Education Solutions, Inc.
                        c\o Navient Post Claim
                        P.O. Box 9460
                        Wilkes Barre, PA 18773



                        Associated Pathologists, LLC
                        c/o Pathgroup
                        PO Box 740858
                        Cincinnati, OH 45274



                        Atlanta Heart Specialists
                        1468 Montreal Road
                        Tucker, GA 30084-6902



                        Atrium Health
                        PO Box 32861
                        Charlotte, NC 28232
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                    Atrium Health
                    P.O. Box 2090
                    Morrisville, NC 27560



                    Bank of America
                    Attn: Bankruptcy
                    4909 Savarese Circle
                    Tampa, FL 33634



                    Bay Area Credit Services
                    P.O. Box 5914
                    Troy, MI 48007-5914



                    BBVA
                    Attn: Bankruptcy
                    5 South 20th St
                    Birmingham, AL 35233



                    Business Revenue Systems
                    PO Box 579
                    Burlington, IA 52601



                    Capio Partners, LLC
                    Attn: Bankruptcy
                    Po Box 3498
                    Sherman, TX 75091



                    Capital One
                    Attn: Bnakruptcy
                    P.O. Box 30285
                    Salt Lake City, UT 84130



                    Carter-Young
                    Attention: Bankruptcy
                    120 2nd St, 2nd Floor
                    Monroe, GA 30655
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                    Central Emergency Medical Services
                    PO Box 660637
                    Dallas, TX 75266



                    Charlotte Radiology
                    P.O. Box 600109
                    Raleigh, NC 27675-6109



                    Citi Cards
                    PO Box 6403
                    Sioux Falls, SD 57117-6077



                    Citibank
                    Attn: Bankruptcy
                    P.O. Box 790034
                    St Louis, MO 63179



                    Comcast
                    P. O. Box 530098
                    Atlanta, GA 30353-0098



                    Concentra Urgent Care
                    P.O. Box 9011
                    Broomfield, CO 80021-9011



                    Credence Resource Mgmt. LLC
                    PO Box 2390
                    Southgate, MI 48195-4390



                    Credit Collection Services
                    Attn: Bankruptcy
                    725 Canton St
                    Norwood, MA 02062



                    Deer Valley Communtiy Association
                    c\o Beth Barrett
                    1465 Northside Drive
                    Suite 128
                    Atlanta, GA 30318
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                    Digitech Computer, LLC.
                    480 N Bedford Rd
                    Chappaqua, NY 10514



                    Discover Financial
                    Attn: Bankruptcy
                    Po Box 3025
                    New Albany, OH 43054



                    EdFinancial Services
                    Attn: Bankruptcy
                    Po Box 36008
                    Knoxville, TN 37930



                    Envision Physicians Services
                    Po Box 80200
                    Philadelphia, PA 19101



                    Georgia Behavioral Health
                    P.O. Box 1870
                    Cary, NC 27512-1870



                    Georgia Department of Revenue
                    Compliance Division
                    ARCS Bankruptcy
                    1800 Century Blvd. NE, Suite 9100
                    Atlanta, GA 30345-3202



                    Goldman Sachs Bank USA
                    c/o Zwicker & Associates, P.C.
                    3505 Koger Blvd., Suite 125
                    Duluth, GA 30098



                    Goldman Sachs Mortgage Company
                    P. O. Box 45400
                    Salt Lake City, UT 84145-0400
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                    Gwinnett County Fire & Emerg.
                    P. O. Box 935335
                    Atlanta, GA 31193-5335



                    Gwinnett County Tax Commissioner
                    75 Langley Drive
                    Lawrenceville, GA 30046



                    IC System
                    P.O. Box 64886
                    Saint Paul, MN 55164



                    InDebted USA, Inc.
                    P.O. Box 1201
                    Farmington, MO 63640-4128



                    Infectious Disease Services of Georgia
                    11660 Alpharetta Hwy.
                    Suite 430
                    Roswell, GA 30076



                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346



                    LA Property Group, LLC.
                    Attn: Michael Mizra
                    703 Henley Fields Cir
                    Duluth, GA 30097



                    Lakeview Behaviorial Health
                    1 Technology Parkway South
                    Norcross, GA 30092



                    LifeStance Health
                    P.O. Box 1870
                    Cary, NC 27512-1870
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                    LSC Capital LLC.
                    1030 Cambridge Square Ste. C
                    Alpharetta, GA 30009



                    Marcus by Goldman Sachs
                    Attn: Bankruptcy
                    Po Box 45400
                    Salt Lake City, UT 84145



                    Medical Revenue Servivce
                    PO Box 1940
                    Melbourne, FL 32902-1940



                    Midland Funding/Midland Credit Mgmt
                    Attn: Bankruptcy
                    Po Box 939069
                    San Diego, CA 92193



                    N. Atlanta Prof Services
                    P.O. Box 650292
                    Dallas, TX 75265-0292



                    NatGen Premier
                    P.O. Box 3199
                    Winston Salem, NC 27102-3199



                    National Enterprise Systems
                    2479 Edison Blvd.
                    Unit A.
                    Attica, OH 44807-2340



                    North Atlanta Heart & Vascular Center
                    P.O. Box 809
                    Marietta, GA 30090



                    North Chattahoochee Family Physcians
                    11459 Johns Creek Parkway
                    Suite 250
                    Duluth, GA 30097
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                    Northeast Georgia Health System
                    PO Box 129
                    Oakwood, GA 30566



                    Northside Hospital
                    P. O. Box 1100062
                    Atlanta, GA 30348-0062



                    Northside Radiology Associates
                    PO Box 932215
                    Atlanta, GA 31193



                    Paragon Revenue Corp
                    216 Le Phillip Ct.
                    Concord, NC 28025



                    Patient Accounts Bureau
                    P.O. Box 279
                    Norcross, GA 30091



                    Peachford Hospital
                    2151 Peachford Road
                    Atlanta, GA 30338



                    Penn Credit
                    PO Box 69703
                    Harrisburg, PA 17106



                    PHH Mortgage
                    Attn: Bankruptcy
                    Po Box 5452
                    Mount Laurel,, NJ 08054



                    PNC Bank
                    PO Box 5570
                    Cleveland, OH 44101
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                    Quest Diagnostic
                    P.O Box 7306
                    Hollister, MO 65673-7306



                    Radius Global Solutions
                    PO Box 357
                    Ramsey, NJ 07446



                    Receivable Performance Mgmt
                    PO Box 1548
                    Lynnwood, WA 98046-1548



                    Sequium Asset Solutions, LLC
                    1130 Northchase Parkway
                    Suite 150
                    Marietta, GA 30067



                    Spectrum
                    PO box 94186
                    Palatine, IL 60094-4188



                    Strategic Resource Group
                    112 W. Pike Drive
                    Suite 200
                    Mount Laurel, NJ 08054



                    Summit Ridge Hospital
                    250 Scenic Hwy. South
                    Lawrenceville, GA 30046



                    The 1818 Club
                    6500 Sugarloaf Parkway
                    Suite 300
                    Duluth, GA 30097



                    The Law Offices of Mitchell D. Bluhm
                    1313 N. Travis Street
                    Suite 103
                    Sherman, TX 75092
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                    Tmobile
                    P.O. Box 629025
                    El Dorado Hills, CA 95762



                    US Acute Care Solutions
                    4535 Dressler Road NW
                    Canton, OH 44718-2545



                    View Pointe Behavioral
                    175 Gwinnett Drive, Ste. 260
                    Lawrenceville, GA 30046



                    World Omni Financial Corp.
                    Attn: Bankruptcy
                    Po Box 991817
                    Mobile, AL 36691
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                                              United States Bankruptcy Court
                                                    Northern District of Georgia
 In re   Jessica Marie Camp                                                                    Case No.
                                                                   Debtor(s)                   Chapter      7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: February 8, 2023                                 /s/ Jessica Marie Camp
                                                       Jessica Marie Camp
                                                       Signature of Debtor
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Fill in this information to identify your case:                                                      Check one box only as directed in this form and in Form
                                                                                                     122A-1Supp:
Debtor 1              Jessica Marie Camp
Debtor 2                                                                                                     1. There is no presumption of abuse
(Spouse, if filing)

United States Bankruptcy Court for the:         Northern District of Georgia                                 2. The calculation to determine if a presumption of abuse
                                                                                                                 applies will be made under Chapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
Case number
(if known)
                                                                                                             3. The Means Test does not apply now because of
                                                                                                                qualified military service but it could apply later.
                                                                                                             Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                     12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:          Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
               living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
   6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
   the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A                  Column B
                                                                                                         Debtor 1                  Debtor 2 or
                                                                                                                                   non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                           $                               26.45      $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                0.00      $
  5. Net income from operating a business, profession, or farm
                                                                      Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                      0.00      $
  6. Net income from rental and other real property
                                                                                  Debtor 1
       Gross receipts (before all deductions)                           $       0.00
       Ordinary and necessary operating expenses                        -$      0.00
       Net monthly income from rental or other real property            $       0.00 Copy here -> $                      0.00      $
                                                                                                         $               0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                 Chapter 7 Statement of Your Current Monthly Income                                                            page 1
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Debtor 1     Jessica Marie Camp                                                                    Case number (if known)



                                                                                               Column A                     Column B
                                                                                               Debtor 1                     Debtor 2 or
                                                                                                                            non-filing spouse
  8. Unemployment compensation                                                                 $                  0.00      $
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:
        For you                                             $                 0.00
           For your spouse                                     $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence,
      do not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any
      retired pay paid under chapter 61 of title 10, then include that pay only to the extent
      that it does not exceed the amount of retired pay to which you would otherwise be
      entitled if retired under any provision of title 10 other than chapter 61 of that title. $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by
      the United States Government in connection with a disability, combat-related injury
      or disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
              . Snap                                                                           $              281.00        $
                                                                                               $                  0.00      $
                Total amounts from separate pages, if any.                                 +   $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $        307.45          +$                      =$          307.45

                                                                                                                                          Total current monthly
                                                                                                                                          income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                           Copy line 11 here=>             $          307.45

             Multiply by 12 (the number of months in a year)                                                                                 x 12
      12b. The result is your annual income for this part of the form                                                             12b. $         3,689.40

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              GA

      Fill in the number of people in your household.                    1
      Fill in the median family income for your state and size of household.                                                      13.    $      56,008.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Jessica Marie Camp
               Jessica Marie Camp
               Signature of Debtor 1


Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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Debtor 1   Jessica Marie Camp                                                            Case number (if known)

       Date February 8, 2023
            MM / DD / YYYY
           If you checked line 14a, do NOT fill out or file Form 122A-2.
           If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                           page 3
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Debtor 1   Jessica Marie Camp                                                     Case number (if known)




                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 08/01/2022 to 01/31/2023.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Brothers Chicken, LLC.
Income by Month:
 6 Months Ago:                    08/2022                     $0.00
 5 Months Ago:                    09/2022                     $0.00
 4 Months Ago:                    10/2022                   $158.70
 3 Months Ago:                    11/2022                     $0.00
 2 Months Ago:                    12/2022                     $0.00
 Last Month:                      01/2023                     $0.00
                       Average per month:                    $26.45




Line 10 - Income from all other sources
Source of Income: Snap
Constant income of $281.00 per month.




Official Form 122A-1                      Chapter 7 Statement of Your Current Monthly Income                           page 4
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245   filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1
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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property, you
You must file Chapter 7 Statement of Your Current                                         must list it on Schedule C: The Property You Claim as
Monthly Income (Official Form 122A–1) if you are an                                       Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                       $1,167   filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on                                                $1,738   total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                    but is also available to individuals. The provisions of
unsecured creditors. If                                                                   chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file. Only
           an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
           what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
           and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that many
           people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
           inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family                                                     repay your creditors all or part of the money that you
            farmers or fishermen                                                          owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                 $200      filing fee                                                     years or 5 years, depending on your income and other
+                 $78      administrative fee                                             factors.
                 $278      total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235      filing fee                                                            debts for fraud or defalcation while acting in a
+                 $78      administrative fee                                                    fiduciary capacity,
                 $313      total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge some                                         bankruptcy papers,
debts that are not paid. You are eligible for chapter 13
only if your debts are not more than certain dollar                                              certain debts for acts that caused death or
amounts set forth in 11 U.S.C. § 109.                                                            personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint case,
                                                                                          both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
Bankruptcy crimes have serious consequences                                               before you file your bankruptcy petition. This briefing is
                                                                                          usually conducted by telephone or on the Internet.
       If you knowingly and fraudulently conceal assets
       or make a false oath or statement under penalty of                                 In addition, after filing a bankruptcy case, you generally
       perjury—either orally or in writing—in connection                                  must complete a financial management instructional
       with a bankruptcy case, you may be fined,                                          course before you can receive a discharge. If you are
       imprisoned, or both.                                                               filing a joint case, both spouses must complete the
                                                                                          course.
       All information you supply in connection with a
       bankruptcy case is subject to examination by the                                   You can obtain the list of agencies approved to provide
       Attorney General acting through the Office of the                                  both the briefing and the instructional course from:
       U.S. Trustee, the Office of the U.S. Attorney, and                                 http://www.uscourts.gov/services-forms/bankruptcy/cre
       other offices and employees of the U.S.                                            dit-counseling-and-debtor-education-courses.
       Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
Make sure the court has your mailing address                                              http://www.uscourts.gov/services-forms/bankruptcy/cre
                                                                                          dit-counseling-and-debtor-education-courses.
The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals                                    If you do not have access to a computer, the clerk of
Filing for Bankruptcy (Official Form 101). To ensure                                      the bankruptcy court may be able to help you obtain the
that you receive information about your case,                                             list.
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.




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